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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                                  NO. 4:11CR00156-19 JLH

JOSHUA A. HAWLEY                                                                DEFENDANT

                                           ORDER

       The hearing on the government’s Motion to Revoke Probation of defendant Joshua A.

Hawley is hereby rescheduled for WEDNESDAY, SEPTEMBER 4, 2013, at 2:15 P.M., in

Courtroom #4-D, Richard Sheppard Arnold United States Courthouse, 500 West Capitol Avenue,

Little Rock, Arkansas, to show cause why the term of probation previously imposed should not be

revoked. Document #661.

       IT IS SO ORDERED this 22nd day of August, 2013.




                                                   _________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
